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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
                                                            :
                                                            :
                                                            :
                                         Plaintiff(s),      :
                                                            :         -CV-       (LL)
                           -v-                              :
                                                            :   CASE MANAGEMENT PLAN AND
                                                            :       SCHEDULING ORDER
                                                            :
                                         Defendant(s). :
                                                            :
----------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

       This Civil Case Management Plan and Scheduling Order is submitted by the parties in
accordance with Federal Rule of Civil Procedure 26(f)(3):

1.      All parties [consent _____ / do not consent _____] to conducting all further proceedings
        before a United States Magistrate Judge, including motions and trial. 28 U.S.C. § 636(c).
        The parties are free to withhold consent without adverse substantive consequences. [If all
        parties consent, the remaining paragraphs need not be completed.]

2.      The parties [have ____ / have not _____] conferred pursuant to Federal Rule of Civil
        Procedure 26(f).

3.      The parties [have ____ / have not _____] engaged in settlement discussions.

4.      Any motion to amend or to join additional parties shall be filed no later than
        _________________________. [Absent exceptional circumstances, a date not more than
        thirty (30) days following the initial pretrial conference.] Note: Pursuant to Paragraph
        3(B) of the Court’s Individual Practices in Civil Cases, the Court will deny a motion to
        dismiss, as moot, without prior notice to the parties, if a plaintiff amends its pleading
        without objection from the defendant. The moving party may then (a) file an answer; (b)
        file a new motion to dismiss; or (c) submit a letter-motion stating that it relies on the
        initially-filed motion to dismiss in which event the Court will treat the initially-filed
        motion to dismiss as a new motion to dismiss the amended pleading.

        Pursuant to Paragraph 2(I) of the Court’s Individual Practices in Civil Cases,
        parties may extend the deadlines set forth in Local Civil Rule 6.1 by an agreed-upon
        schedule, which shall govern as long as it is disclosed to the Court in a letter
        accompanying the initial motion. At the Initial Pretrial Conference, parties should
        come prepared to discuss a proposed briefing schedule for any anticipated motion.
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5.    Initial disclosures pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure shall
      be completed no later than _________________________. [Absent exceptional
      circumstances, a date not more than fourteen (14) days following the initial pretrial
      conference.]

6.    All fact discovery is to be completed no later than __________________________. [A
      date not more than one hundred twenty (120) days following the initial pretrial
      conference, unless the Court finds that the case presents unique complexities or other
      exceptional circumstances.]

7.    The parties are to conduct discovery in accordance with the Federal Rules of Civil
      Procedure and the Local Rules of the Southern District of New York. The following
      interim deadlines may be extended by the parties on consent without application to the
      Court, provided that the parties meet the deadline for completing fact discovery set forth
      in Paragraph 6 above.

      a.      Initial requests for production of documents shall be served by ______________.

      b.      Interrogatories pursuant to Rule 33.3(a) of the Local Rules of the Southern
              District of New York shall be served by _____________________. [Absent
              exceptional circumstances, a date not more than thirty (30) days following the
              initial pretrial conference.] No Rule 33.3(a) interrogatories need to be served with
              respect to disclosures automatically required by Federal Rule of Civil Procedure
              26(a).

      c.      Unless otherwise ordered by the Court, contention interrogatories should be
              served consistent with Rule 33.3(c) of the Local Rules of the Southern District of
              New York.

      d.      Depositions shall be completed by _______________.

      e.      Requests to Admit shall be served no later than _______________.

8.    All expert discovery, including disclosures, reports, production of underlying documents,
      and depositions shall be completed by _________________________. [Absent
      exceptional circumstances, a date forty-five (45) days from the completion of fact
      discovery.]

9.    All discovery shall be completed no later than _______________.

10.   The proposed joint pretrial order shall be submitted on ECF in accordance with the
      Court’s Individual Practices in Civil Cases and Federal Rule of Civil Procedure 26(a)(3)
      no later than ____________________.

11.   Any motion for summary judgment must be filed no later than _______________.

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         [Absent exceptional circumstances, a date fourteen (14) days from the completion of all
         discovery.]

12.      This case [is ____ / is not _____] to be tried to a jury.

13.      The parties have conferred and their present best estimate of the length of trial is
         _______________.

14.      Counsel for the parties propose the following alternative dispute resolution mechanism
         for this case:

            a. _____ Referral to a Magistrate Judge for settlement discussions.

            b. _____ Referral to the Southern District’s Mediation Program.

            c. _____ Retention of a private mediator.

The use of any alternative dispute resolution mechanism does not stay or modify any date in this
Order.

15.      Other issues to be addressed at the Initial Pretrial Conference, including those set forth in
         Federal Rule of Civil Procedure 26(f)(3), are set forth below.
         ________________________________________________________________________
         ________________________________________________________________________
         ________________________________________________________________________
         ________________________________________________________________________


Counsel for the Parties:

_________________________________                       _________________________________
_________________________________                       _________________________________
_________________________________                       _________________________________
_________________________________                       _________________________________


Dated:           __________________
                 New York, New York

                                                         ________________________________
                                                                    LEWIS J. LIMAN
                                                                United States District Judge




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